Case 3:19-cr-00248- are Document 36 Filed 01/22/21 Page 1 of 26

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State of Connecticut
PO Box 6035 '
Hartford CT 06102-5035 Connecticut Real Estate Conveyance Tax Return (Rev. 07/20)
OP236 0720W 01 9999 — Fortown Town Code band Record bone
Clerk Use» 2 Vol. Be : Pg. be
Complete Form OP-236 In blue or black ink only. Only aan eel eseeanet acgaitse: Lo eecenetet sures -
1. Town Co 2, Location of property conveyed (numberand street) = Amended retum

     
 
 

BPERBURY 30 _SORNE DRIVE

BERARDIS, _ OR _ NICHOLAS Ae

   

~ FEIN
‘SSN

antorisalier #2 (last name, a fist nama, middle initia) oe.

BERARDIS, CHRISTINA A.
Grantor/seller address (street and number) after conveyance

  
     

 

6. Is the grantor a partnership, S corporation, Le, ‘estate, or trust? 5 me vec 7 W, th thi awan oo
if Yes, attach OP-236 Schedule A - Grantors - i Yes fas more than one deed filed with this conveyance? m : Yes

8. if this conveyance fs for no consideration or less than mo my mo oon
adequate consideration, which gift tax retums will be fled? 9” / © Federalonly |" State only ~ ‘Both fed. & state ; None

9. Is there more than one grantee/buyer or, is ihe grantee a partnership, S corporation, LLC, estate, or trust? b>! Yes
Yes, allach OP-236 Schedule B - Grantees, Supplemental information for Real Estate Conveyance Tax Retum. hat

10. Grantee/buyer (last name, firstname, middie initial) = Taxpayer identification Number
: BAYEH, VINCE

 

          

Ct pany, Ste. IP ode,
“CT! 06762.

 
 
    

 

 

hate = ws Hethos reer etre det : - Bats

14. The sri claims no tax is due because (See instructions. 18.) > “ Conveyance was for no consideration or consideration was s less than 82, 000.

 

     
 
  

& 15. Consideration for unimproved land

» 16, ‘Total consideration for residential dwelling

   

» 16a. Portion of Line 16 that is $800,000 or less : x 0.0075

0.25:

    
   
   
  
  

  

b> 16b, Porion of Line 16 that exceeds $800,000 up to and inching $2,500,000 0.0 0 x 0.0125 : “0.0 OF
> 16c. Portion of Line 16 that exceeds $2,500,000 | ee G0. x 0.0225 “0.00:
» 17. Residential property other than residential dwelling _— ot x0.0075 = 0.0 0.
» 18. Nonresidential property other than unimproved land . ~ x 0.0125 ; 0 0 0 0 .
» 19, Properly conveyed by a delinquent morigagor : a x0.0075 = 0.4 0 0 :
p» 20. Total State of Connecticut tax due: Add Lines 15, 16a through 19. - 2 0. 2 5.

Declaration: i declare under penalty of law that / have examined this return {including anya ccompanying schedules and statements) and, to the best of my knowledge and bellef,

itis true, complete, and correct. | understand the penalty for willfully delivering a false return to the Oepariment of Revenue Services (ORS is a fine of not more than $5,000, or

imprisonment fornot more than five years, or both. The declaration ofa paid preparer other than the taxpayer is based on afl information of which the preparer has any knowledge.
Indicate who is signing this return: 13¢ iGrantor =, 1 Grantors attorney Grantor's authorized agent

_Name of parson signing ihe Saturn Aaipe or pent)

    
   

(203) ‘527+ 5289

  

 

 
Case 3:19-cr-00248-JCH Document 36 Filed 01/22/21 Page 2 of 26

Return to:

Vince Bayeh

30 Joanne Drive
Middlebury, CT 06762

WARRANTY DEED

TO ALL PEOPLE TO WHOM THESE PRESENTS SHALL COME, GREETING:

Know Ye, THAT, We, Nicholas A. Berardis, Jr. and Christina A. Berardis, of Middlebury,
Connecticut, hereinafter referred to as the Grantors, for the consideration of Two Hundred Seventy
Thousand and no/100 Dollars ($270,000.00) received to our full satisfaction of Vince Bayeh, whose
address will be 30 Joanne Drive, Middlebury, CT 06762, do give, grant, bargain, sell and confirm unto
the said Vince Bayeh, hereinafter referred to as the Grantee, the real property known as 30 Joanne Drive,
Middlebury, Connecticut 06762 and Waterbury, CT 06708, more fully described on as follows:

That certain piece or parcel of land, with all the improvements thereon, situated on the northerly side of
Jo-Anne Drive in the Towns of Middlebury and Waterbury, both in the County of New Haven and State
of Connecticut, bounded and described as follows:

Being designated as the southerly portion of Lot No. 6, as shown on a map entitled "Plan Showing a
Portion of Larchmont Park, Section One, Middlebury and Waterbury, Conn. October, 1949" Wm. B.
Reynolds, Surveyor, recorded in Waterbury Town Clerk's Office in Map Book 19, Page 68, atid in
Middlebury Town Clerk's Office in Map Book 7, Page 96, bounded and describe as follows:

Beginning at a point in the northerly line of Jo-Anne Drive (Formerly Lucey Avenue) as shown on a map
of Section One of Larchmont Park, said point being the southwesterly corner of the within described
parcel, same being the southeast corner of Lot No. 3 as shown on said map; thence running easterly along
the northerly line of Jo-Anne Drive (formerly Lucey Avenue) 100 feet to the southwest corner of Lot No.
8 as shown on said map; thence running northerly at right angles to last described line 150 feet; thence
running westerly at right angles to last described line 100 feet; thence running southerly at right angles to
last described line, 150 feet to point of beginning.

Together with the right, on foot and by vehicle, to pass and repass upon that portion of Lakeside
Boulevard West and Jo-Anne Drive (formerly Lucey Avenue) as shown on the above map.

Being the same premises conveyed to Nicholas A, Berardis, Jr. and Christina A. Berardis by
Nicholas Berardis and Ann Marie Berardis by Warranty Deed (Survivorship) dated December 16, 2005
and recorded December 19, 2005 in Volume 218, Page 762 of the Middlebury Land Records and in
Volume 5614, Page 3 ofthe Waterbury Land Records.

Said premises are subject to:

1) Taxes due the Town of Middlebury and the City of Waterbury on the Grand List of October 1,
2019 which the Grantee asstimes atid agreed to pay.

2) Taxes due the Town of Middlebury and the City of Waterbury on the Grand List of October [,
2020, not yet due and payable.

 
Case 3:19-cr-00248-JCH Document 36 Filed 01/22/21 Page 3 of 26

Return to:

Vince Bayeh

30 Joanne Drive
Middlebury, CT 06762

WARRANTY DEED

TO ALL PEOPLE TO WHOM THESE PRESENTS SHALL COME, GREETING:

Know Ye, THAT, We, Nicholas A. Berardis, Jr. and Christina A. Berardis, of Middlebury,
Connecticut, hereinafter referred to as the Grantors, for the consideration of Two Hundred Seventy
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That certain piece or parcel of land, with ail the improvements thereon, situated on the northerly side of
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last described line, 150 feet to point of beginning.

Together with the right, on foot and by vehicle, to pass and repass upon that portion of Lakeside
Boulevard West and Jo-Anne Drive (formerly Lucey Avenue) as shown on the above map.

Being the same premises conveyed to Nicholas A. Berardis, Jr. and Christina A. Berardis by
Nicholas Berardis and Ann Marie Berardis by Warranty Deed (Survivorship) dated December 16, 2005
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2) Taxes due the Town of Middlebury and the City of Waterbury on the Grand List of October 1,
2020, not yet due and payable.

 
Case 3:19-cr-00248-JCH Document 36 Filed 01/22/21 Page 4 of 26

3) Buildings lines, all laws, ordinances or governmental regulations, including building and zoning
ordinances, affecting said premises.

TO HAVE AND TO HOLD the above granted and bargained premises, with the appurtenances
thereof, unto him, the said Grantee, his heirs and assigns forever, to him and their own proper use and
behoof.

AND ALSO, We the said Grantors, do for ourselves and our heirs, executors, administrators and
assigns, covenant with the said Grantee, his heirs and assigns, that at and until the unsealing of these
presents, we, the said Grantors, are well seized of the premises, as a good indefeasible estate in FEE
SIMPLE, and have good right to bargain and sell the same in manner and form as is above written; and
that the same is free from all encumbrances whatsoever, except as above stated.

AND FURTHERMORE, We, the said Grantors, do by these presents bind ourselves and our
heirs and assigns forever to WARRANT AND DEFEND the above granted and bargained premises to
the said Grantee, his heirs and assigns, against all claims and demands whatsoever, except as above
stated.

, AN WITNESS WHEREOF, I, JUDITH MILLER, have hereunto set my hand and seal this
¢| day of January, 2021

Signed, Sealed and Delivered in the presence of:
y WA « ff
MM fit 20
Z v Nicholas A. Berardis, Jy
/ —_— E: aa ,
) Ui te ale @

Christina A. Berardis

STATE OF CONNECTICUT _ )
): Middlebury
COUNTY OF NEW HAVEN )

On this the \ 4 day of January, 2021, before me, Matthias Peters-Kroll, the undersigned officer,
personally appeared Nicholas A. Berardis, Jr. and Christina A. Berardis, known to me or satisfactorily
proven to be the person whose name is subscribed to the within instrument and acknowledged that she
executed the same for the purposes therein contained.

 

 

Matthias Peters-Kroll
Commissioner of the Superior Court

 

 

 
 

Document 36 Filed 01/22/21 Page 5 of 26

  

   

   

Department Sr aaGus shiv” ~ A ;
Solem 236 EIR URN
PO Box §035 a he OP 236
Hartford CT 08102-5035 a Connecticut Reaj Estate Conveyance Tax Return (Rev. 07/20)
OP236 0720W 01 9999 = For Town fownCode LandRecord
Clerk Use p | Vol. b> | | Pg.
Complete Form OP-236 in blue or black ink only. Only Jove ennecunann! bewveteenesnvenk: ho,
1. Town ; eee egstth ecu 2.L Location of property conveyed (oumber and street) oth che pg Amended retum

 

 

 

DP MIDDLEBURY 30 goaNnE DRIVE

 

3. Are there more than two gratorsteters? Pee

 

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5. Grantorisatie #2 (last name, fi rst 0 name, . middle inital)
BERARDIS, CHRISTINA A.
antor/selier address (street and nurs

    
 

   

5 i the orator apatnratp,§ coporaon ue ssa wnat, ae vineuninaremnisncil secon tisreeeys me cook
if Yes, attach OP-236 Schedule A - Grantors oy Yes 7, Was more than one deed filed with thls conveyance? B / Yes
8. ifithis conveyance is for no consideration o7 less than i oo: ps an
adequate consideration, which gift tax returns will be filed? P Federal only |" State only — = Both fed. & state ; None
9, Is there more than one grantee/buyer or, is the grantee a partnership, 5 corporation, LLC, estate, or trust? _ a Yes

if ¥es, attach OP-236 Schedule 8 - Grantees, Sugpiemental information for Real Estate Conveyance Tax Refum,
10, Grantee/buyer (last name, firstname, middie tnitial) eee ee axpayer identification Number
 BAYEH, VINCE — —
ntee/buyer ¢ address (stieet and number) af
30 JOANNE DRIVE

1. Date c conveyed oats. DD- Se vee 12, Date ‘recorded um. 00: Yh) __. “43. Tipe0 of instrument: —
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conveyance a

    
  

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| Mr DDLEBURY

    
 
 
       

+4. The grantor ¢ claims no tax is due because (See instructions. ‘ eG

  

pS : Exempt under Conn. Gen. Stat. 42-498, Enter exempt code:# “i exempt code 04 or 09, enter citation or docket #:.

Computation of Tax - Enter consideration for conveyance on the appropriate | line. See @ Instructions.
° + 0.0075

     
 

& 18, Consideration for unimproved land

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» 16. Total consideration for residential dwelling

 

m» 16a. Portion of Line 16 that is $800,000 or less ;
m 18b. Porn of Line 16 that exceeds $800,000 up to.and including $2,500,000 |
> 160. Portion of Line 16 that exceeds $2,500,000 :

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> 17. Residential property other than residential dwelling
» 18. Nonresidential property other than unimproved fand * 50.0125 = oe 0. “00.

| x0,0076 a
2, 004. 15

& 19. Property conveyed by a delinquent mortgagor

 

» 20. Total State of Connecticut tax due: Add Lines 15, 16a through 19.

 

Declaration: | declare under penalty of law that | have examined this return (including any accompanying schedules and statements) and, to the best of my knowledge and belief,
itis tue, complete, and correct. | understand the penalty for willfully delivering a false relurn to the Department of Revenue Services (DRS) i is 2 fine of not more than $5,000, or
fmprisonment for not more than five years, or botn. The eclarafion ofa pald preparerolher than the taxpayer Is based on all Information of which the preparer has any knowledge.

Indicate whe Is signing this return: < Grantor “ -Grantor’s attomey a “Grantor's authorized agent
Name of person signing | the teturn type or pein) “ezeicts at

 

 

      
 

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° OMT NELLA TRAMUTA EDWARDS:

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Case 3:19-cr-00248-JCH Document 36 Filed 01/22/21 Page 6 of 26

3) Buildings lines, all laws, ordinances or governmental regulations, including building and zoning
ordinances, affecting said premises.

TO HAVE AND TO HOLD the above granted and bargained premises, with the appurtenances
thereof, unto him, the said Grantee, his heirs and assigns forever, to him and their own proper use and
behoof.

AND ALSO, We the said Grantors, do for ourselves and our heirs, executors, administrators and
assigns, covenant with the said Grantee, his heirs and assigns, that at and until the unsealing of these
presents, we, the said Grantors, are well seized of the premises, as a good indefeasible estate in FEE
SIMPLE, and have good right to bargain and sell the same in manner and form as is above written; and
that the same is free from all encumbrances whatsoever, except as above stated.

AND FURTHERMORE, We, the said Grantors, do by these presents bind ourselves and our
heirs and assigns forever to WARRANT AND DEFEND the above granted and bargained premises to
ihe said Grantee, his heirs and assigns, against all claims and demands whatsoever, except as above
stated.

_4,IN WITNESS WHEREOF, |, JUDITH MILLER, have hereunto set my hand and seal this
Sy, day of January, 2021

Signed, Sealed and Delivered in the presence of:

ht. she Gee i

Christind A. Berardis

 

STATE OF CONNECTICUT _ )
): Middlebury
COUNTY OF NEW HAVEN _)

= |
On this the | a day of January, 2021, before me, Matthias Peters-Kroll, the undersigned officer,
personally appeared Nicholas A. Berardis, Jr. and Christina A. Berardis, known to me or satisfactorily
proven to be the person whose name is subscribed to the within instrument and acknowledged that she

executed the same for the purposes therein contained. Ht fl

Matthias Peters-Kroll
Commissioner of the Superior Court

 

 

 

 
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Case 3:19-cr-00248-JCH Document 36 Filed 01/22/21 Page 11 of 26

NON-FOREIGN CERTIFICATION
(Individual)

Section 1445 of the Internal Revenue Code provides that a transferee (Buyer) of a U.S. real
property interest must withhold tax if the transferor (Seller) is a foreign person. To inform the transferee
(Buyer) that withholding of tax is not required upon my disposition of a U.S. real property interest, I,
Christina Berardis, hereby certify the following:

1. [am nota nonresident alien for purposes of U.S. income taxation;

al a —

2. My taxpayer identification number is_ 4A Qo 2 VY i
. ) - . / TT = \

3. My forwarding address is (o ax 25 Se tolary } C | Oe IZ g

I understand that this certification may be disclosed to the Internal Revenue Service by the
transferee and that any false statements I have made here could be punished by fine, imprisonment, or
both.

Under penalties of perjury, I declare that I have examined this certification and to the best of my
knowledge and belief, it is true, correct and complete.

Dates \-— \2-202)\

 

 

ar A. Berardisst/

 
Case 3:19-cr-00248-JCH Document 36 Filed 01/22/21 Page 12 of 26
MINNELLA, TRAMUTA & EDWARDS, LLC

ATTORNEYS AT LAW
MARTIN J. MINNELLA 40 MIDDLEBURY ROAD MILFORD OFFICE
JOSEPH TRAMUTA MIDDLEBURY, CT 06762 9 LAFAYETTE STREET
re PHONE (203) 573-1411 MILFORD, CT 06460
MATTHIAS PETERS- FAX (203) 757-9313 (203) 647-7872
KROLL wow MEELAWFIRM.com
ISMIAN FERAIZI Mane C, EDWARDS -
DANIEL THIBODEAU ; IRED
DEBRA S. MASCIA
REAL ESTATE PARALEGAL
DMASCIA@MTELAWFIRM.COM
(203) 527-5289
January 5, 2021
Research Department

Carrington Mortgage Services, LLC

RE: 30 Joanne Drive, Middlebury, CT 06762 and Waterbury, CT 06708
Nicholas A. Berardis, Jr. and Christina A. Berardis

Gentlemen:

Please be advised that our office represents the owners of 30 Joanne Drive, Middlebury,
Connecticut. A portion of this property is located in the City of Waterbury, Connecticut, as well
as in the Town of Middlebury, Connecticut.

In December of 2005, the following mortgage was recorded on the Middlebury,
Connecticut Land Records and the Waterbury, Connecticut Land Records:

Mortgage from Nicholas A. Berardis, Jr. and Christina A. Berardis to Mortgage
Electronic Registration Systems, Inc, as nominee for Taylor, Bean and Whitaker Mortgage Corp.
dated December 16, 2005 and recorded on December 19, 2005 in Volume 218, Page 764 of the
Middlebury Land Records and recorded on December 19, 2005 in Volume 5614 at Page 4 of the
Waterbury Land Records.

In April of 2016, a release of this mortgage was recorded on the Middlebury Land.
Records in Volume 289 at Page 8. However, a release of the mortgage was never recorded
on the Waterbury Land Records.

Mr. and Mrs. Berardis are now selling 30 Joanne Drive and we need to obtain a release of
the mortgage to record on the Waterbury Land Records. Pursuant to MERS, Carrington
Mortgage is the servicer of this mortgage. I am attaching the MERS printout setting forth
Carrington Mortgage as the servicer, and the MIN 1000295-0000993728-9, along with a copy of

the title search.

 
Case 3:19-cr-00248-JCH Document 36 Filed 01/22/21 Page 13 of 26

Please forward an original release of this mortgage to our office at 9 Lafayette Street,
Milford, Connecticut 06460. If you have any questions, or need further information, please
contact the undersigned at 203-527-5289 or by email at dmascia@mtelawfirm.com

Very truly yours,

Debra 8. Mascia
Real Estate Paralegal

Enc.

 
W1HZ02T POW DELVVICEIL) - MESUIE

Case. 3:19-cr-00248-JCH Document 36 Filed 01/22/21 Page 14 of 26

  

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4 record matched your search:

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SSS SRP Ev els scion ade ed oe be

MIN: 1000295-0000993728-9 Note Date: 12/16/2005 MIN Status: Inactive

 

Servicer: Carrington Mortgage Services LLC Phone: (800) 561-4567
Anaheim, CA

If you are a borrower on this loan, you can ¢lick here to enter additional information and
display the Investor name.

 

Return Eo Search

For more information about Mortgage Efectronic Registration Systems, Inc. (MERS) please go to www.mersinc.org
Copyright® 2021 by MERSCORP Maldings, Inc.

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Case 3:19-cr-00248-JCH Document 36 Filed 01/22/21 Page 15 of 26

CENTRAL TITLE

625 Wolcott Street, Suite #21
Waterbury, Connecticut 06705
Phone (203) 573-0019
Fax (203) 753-2404

NO. 10673

TO: Law Offices of Thomas E. Porzio, LLC
625 Wolcott Street, Suite 21
Waterbury, CT 06705

RE: 30 Joanne Drive, Middlebury, Connecticut

Joann Drive, Waterbury, Connecticut
DATE: December 7, 2020 at 8:00 a.m.
OWNERS: Nicholas A. Berardis, Jr. and Christina A. Berardis
DESCRIPTION AND ENCUMBRANCES

See Schedule “A” Attached

TAX INFORMATION
List of 10/1/19
MIDDLEBURY WATERBURY
List # 2019-1-0000260 List # 2019-1-0002853
Assessment: $141,800 ' Assessment: $970
Total Tax: $4,977.18 Total Tax: $58.40 - Paid
1* Half: Paid
2nd Half: Due Jan.

CENTRAL TITLE
BY:

John Dempsey

 
. Case 3:19-cr-00248-JCH Document 36 Filed 01/22/21 Page 16 of 26

SCHEDULE “A”

That certain piece or parcel of land, with all the improvements thereon, situated on the northerly
side of Jo-Anne Drive in the Towns of Middlebury and Waterbury, both in the County of New
Haven and State of Connecticut, bounded and described as follows:

Being designated as the southerly portion of Lot No. 6, as shown on a map entitled "Plan
Showing a Portion of Larchmont Park, Section One, Middlebury and Waterbury, Conn. October,
1949" Wm. B. Reynolds, Surveyor, recorded in Waterbury Town Clerk's Office in Map Book 19,
Page 68, and in Middlebury Town Clerk's Office in Map Book 7, Page 96, bounded and describe
as follows:

Beginning at a point in the northerly line of Jo-Anne Drive (Formerly Lucey Avenue) as shown
on a map of Section One of Larchmont Park, said point being the southwesterly corner of the
within described parcel, same being the southeast corner of Lot No. 3 as shown on said map;
thence running easterly along the northerly line of Jo-Anne Drive (formerly Lucey Avenue) 100
feet to the southwest corner of Lot No. 8 as shown on said map; thence running northerly at right
angles to last described line 150 feet; thence running westerly at right angles to last described
line 100 feet; thence running southerly at right angles to last described line, 150 feet to point of
beginning.

Together with the right, on foot and by vehicle, to pass and repass upon that portion of Lakeside
Boulevard West and Jo-Anne Drive (formerly Lucey Avenue) as shown on the above map.

Being the same premises conveyed to Nicholas A. Berardis, Jr. and Christina A. Berardis
by Nicholas Berardis and Ann Marie Berardis by Warranty Deed (Survivorship) dated December
16, 2005 and recordedDecember 19, 2005 in Volume 218, Page 762 of the Middlebury Land
Records and in Volume 5614, Page 3 of the Waterbury Land Records.

Said premises are free and clear of all encumbrances except as follows:

1. Building lines, if established, and any and all provisions of any statute, ordinance,
municipal regulation, zoning, planning and wetlands laws and regulations or public or private
law, local, state or federal.

2. Mortgage - Open End - $248,675.00 - Nicholas A. Berardis, Jz. and Christina A.
Berardis to Mortgage Electronic Registration Systems, Inc. as nominee for Taylor, Bean &
Whitaker Mortgage Corp. dated December 16, 2005 and recorded December 19, 2005 in Volume
5614, Page 5 of the Waterbury Land Records.

NOTE: Mortgage has been released on the Middlebury Land Records.
3. Mortgage - Open End - $20,000.00 - Nicholas Berardis, Jr. and Christina Berardis to

Wachovia Bank, National Association dated June 11, 2007 and recorded June 28, 2007 in |
Volume 232, Page 725 of the Middlebury Land Records. See Also: Subordination Agreement -

 
Case 3:19-cr-00248-JCH Document 36 Filed 01/22/21 Page 17 of 26

by Wells Fargo Bank, N.A. dated January 26, 2016 and recorded March 14, 2016 in Volume
288, Page 34 of the Middlebury Land Records.

NOTE: Mortgage is not recorded on the Waterbury Land Records.
4. Mortgage - Open End - $211,294.00 - Nicholas A. Berardis, Jr. and Christina A.
Berardis to Mortgage electronic Registration Systems, Inc. as nominee for Carrington Mortgage

Services, LLC dated February 22, 2016 and recorded March 14, 2016 in Volume 288, Page 24 of
the Middlebury Land Records.

NOTE: Mortgage is not recorded on the Waterbury Land Records.

NOTE: Property is located partly in Middlebury and partly in Waterbury. Documents
must be recorded in both towns.

 
Case 3:19-cr-00248-JCH Document 36 Filed 01/22/21 Page 18 of 26

CERTIFICATION FOR NO INFORMATION REPORTING ON THE SALE OR EXCHANGE
OF A PRINCIPAL RESIDENCE (Revised 1-22-07)

This form may be completed by the seller of a principal residence. ‘This information is necessary to determine whether the sale of
exchange should be reported to the seller, and to the Internal Revenue Service on Form 1099-S, Proceeds From Real Estate
Transactions. If the seller properly completes Parts I and III, and makes a “true” response to assurances (1) through (6) in Part II (ora
“not applicable” response to assurances (6)), no information reporting to the seller or to the Service will be required for that seller.
The term “seller” includes each owner of the residence that is sold or exchanged. Thus, if a residence has more than one owner, a real
estate reporting person much either obtain a certification form for each owner (whether married or not) or file an information return
and furnish a payee statement for any owner that does not make the certification.

1. Name: NICHOLAS A, BERARDIS JR.
2. Address or legal description (including city, state & ZIP Code) of residence being sold or exchanged:

30 JOANNE DRIVE, MIDDLEBURY, CT_ 06762

LLA Of et
3. Taxpayer Identification Number (TIN) aye L: * be ) / ? L \

1

Part II. Seller Assurances

Check “true” or “false” for assurances (1) through (5), and “true,” false,” or “not applicable” for assurance (6)

qd) I owned and used the residence as my principal residence for periods aggregating 2 years or more
during the 5 year period ending on the date of the sale or exchange of the residence.

(2) I have not sold or exchanged another principal residence during the 2 year period ending on the
date of the sale or exchange of the residence.

i
f
—_-.
f (3) I (or my spouse or former spouse, if 1 was married at any time during the period beginning after
May 6, 1997, and ending today) have not used any portion of the residence for business or rental

purposes after May 6, 1997.

(4) At least one of the following three statements applies: The sale or exchange is of the entire residence
for $250,000 or less. OR I am married, the sale or exchange is of the entire residence for $500,00.
or less, and the gain on the sale or exchange of the entire residence is $250,000 or less. OR Iam
married, the sale or exchange is of the entire residence for $500,000 or less, and (a) I intend to file
a joint return for the year of the sale of exchange, (b) my spouse also used the residence as his or her
principal residence for periods aggregating 2 years or more during the 5 year period ending on the
the date of the sale or exchange for the residence, and (c) my spouse also has not sold or exchanged
another principal residence during the 2 year period ending on the date of the sale or exchange

fo of the principal residence.

K

(5) During the 5 year period ending on the date of the sale or exchange of the residence, I did not acquire
the residence in an exchange to which Section 1031 of the Internal Revenue Code applied.

F N/A

me

‘

a
/ f (6) if my basis in the residence is determined by reference to the basis in the hands of a person who
acquired the residence in an exchange to which Section 1031 of the Internal Revenue Code applied,
the exchange to which Section 1031 applied occurred more than 5 years prior to the date I sold or

exchanged the residence.

Part II. Seller Certification

Under penalties of perjury, I certify that all the above information is true as of the end of the day of the sale or exchange.

_g AL 1-12 -202|
sale NICHOLAS A. BERARDIS JR. DATE

 

 

 

 

 
Case 3:19-cr-00248-JCH Document 36 Filed 01/22/21 Page 19 of 26

UNDERTAKING AND INDEMNITY FOR PAYOFF OF EXISTING MORTGAGE

Sale of: 30 Joanne Drive, Middlebury, CT 06762
Seller: Nicholas A. Berardis, Jr. and Christina A. Berardis
INDEMNITY OF OWNER

The undersigned, being the owner of the above-referenced property, hereby acknowledges that the
property is presently encumbered by the following mortgage:

Mortgage from Nicholas Berardis, Jr. and Christina Berardis to Wachovia Bank, National Association, now
Wells Fargo Bank, N.A., in the original principal amount of $20,000.00, dated June 11, 2007 and recorded
June 28, 2007 in Volume 232, Page 725 of the Middlebury Land Records

Our attorney signing below has obtained a payoff statement for the mortgage and we have directed
our attorney to fully pay and satisfy said mortgage from the closing proceeds. In the event the payoff
statement provided IS not accurate, we agree to immediately tender all funds necessary to pay the mortgage
in full.

In consideration of the issuance of policies of title insurance without exception to the above-
referenced mortgage, the undersigned owner agrees to indemnify and hold harmless the Purchaser, his/her
attorney and his/her title insurance company from and against all loss, costs, or damage, including
attorney’s fees and court costs, arising or resulting from any claim made in connection with said mortgage.

Dated: 1-\2-202\

 

| :
( AID JN

Christina A. Berardis

CLOSING ATTORNEY’S UNDERTAKING

The undersigned hereby certifies that I am an attorney licensed to practice in the State of
Connecticut. I received a payoff statement for the above-referenced mortgage, and I have sent sufficient
funds in accordance with the attached payoff statement to the mortgagee to pay off the mortgage in full.
Upon payment in full of said loan, I will obtain and record a proper release of the mortgage or, ifnecessary,
I will prepare and record an affidavit in accordance with Section 49-8a of the Connecticut General Statutes.
Attached hereto is a copy of the payoff statement, payoff check and the transmittal letter to the mortgagee.

Dated:

 

 

 
Case 3:19-cr-00248-JCH Document 36 Filed 01/22/21 Page 20 of 26

UNDERTAKING AND INDEMNITY FOR PAYOFF OF EXISTING MORTGAGE

Sale of: 30 Joanne Drive, Middlebury, CT 06762
Seller: Nicholas A. Berardis, Jr. and Christina A. Berardis
INDEMNITY OF OWNER

The undersigned, being the owner of the above-referenced property, hereby acknowledges that the
property is presently encumbered by the following mortgage:

Mortgage from Nicholas A. Berardis, Jr. and Christina A. Berardis to Mortgage Electronic Registration
Systems, Inc. as nominee for Carrington Mortgage Services, LLC, in the original principal amount of
$211,294.00, dated February 22, 2016 and recorded on March 14, 2016 in Volume 288 at Page 24 of the
Middlebury Land Records.

Our attorney signing below has obtained a payoff statement for the mortgage and we have directed
our attorney to fully pay and satisfy said mortgage from the closing proceeds. In the event the payoff
statement provided is not accurate, we agree to immediately tender all funds necessary to pay the mortgage
in full.

In consideration of the issuance of policies of title insurance without exception to the above-
referenced mortgage, the undersigned owner agrees to indemnify and hold harmless the Purchaser, his/her
attorney and his/her title insurance company from and against all loss, costs, or damage, including
attorney’s fees and court costs, arising or resulting from any claim made in connection with said mortgage.

Dated: »-/2-202) igh atts fH i.

Nicholas A. Berardis, Jr, \_] /~

ON

Christirfa A. Berardis

CLOSING ATTORNEY’S UNDERTAKING

The undersigned hereby certifies that I am an attorney licensed to practice in the State of
Connecticut. I received a payoff statement for the above-referenced mortgage, and I have sent sufficient
funds in accordance with the attached payoff statement to the mortgagee to pay off the mortgage in full.
Upon payment in full of said loan, J will obtain and record a proper release of the mortgage or, if necessary,
I will prepare and record an affidavit in accordance with Section 49-8a of the Connecticut General Statutes.
Attached hereto is a copy of the payoff statement, payoff check and the transmittal letter to the mortgagee.

Dated:

 

 

 

 
Case 3:19-cr-00248-JCH Document 36 Filed 01/22/21 Page 21 of 26

UNDERTAKING AND INDEMNITY FOR PAYOFF OF EXISTING MORTGAGE

Sale of: 30 Joanne Drive, Middlebury, CT 06762
Seller: Nicholas A. Berardis, Jr. and Christina A. Berardis
INDEMNITY OF OWNER

The undersigned, being the owner of the above-referenced property, hereby acknowledges that the
property is presently encumbered by the following mortgage: .

Mortgage from Nicholas A. Berardis, Jr. and Christina A. Berardis to Mortgage Electronic
Registration Systems, Inc. as nominee for Taylor, Bean & Whitaker Mortgage Corp. dated
December 16, 2005 and recorded December 19, 2005 in Volume 5614, Page 5 of the Waterbury

Land Records.

This mortgage has been paid in full and released on the Middlebury Land Records. Our
attorney has contacted the Research Department of Carrington Mortgage Services, the servicing
company for this paid mortgage, and has requested a release for recording on the Waterbury Land
Records. In the event that there is any outstanding balance due, we agree to immediately tender
all funds necessary to pay the mortgage in full.

In consideration of the issuance of policies of title insurance without exception to the above-
referenced mortgage, the undersigned owner agrees to indemnify and hold harmless the Purchaser, his/her
attorney and his/her title insurance company from and against all loss, costs, or damage, including
attorney’s fees and court costs, arising or resulting from any claim made in connection with said mortgage.

Dated: /-/2-Zo0Z! ALL XA ZZ

“BK rASTV

Christina A. Berardis

CLOSING ATTORNEY’S UNDERTAKING

The undersigned hereby certifies that I am an attorney licensed to practice in the State of
Connecticut. According to the title search provided to us by Attorney Thomas Porzio, the referenced
mortgage was recorded on the Middlebury Land Records as well as the Waterbury Land Records. The
mortgage was released on the Middlebury Land Records, but not the Waterbury Land Records. We have
contacted Carrington Mortgage Services, the servicing company for the mortgage referenced above, and
have requested a release for recording on the Waterbury Land Records. I am attaching a copy of the letter
to Carrington Mortgage Services. Upon receipt of the release, we will immediately arrange for the
recording of same on the Waterbury Land Records.

Dated:

 

Matthias Peters-Kroll
Minnella, Tramuta & Edwards, LLC

 

 
Case 3:19-cr-00248-JCH Document 36 Filed 01/22/21 Page 22 of 26
For use in certain Connecticut Real Estate Transactions
AFFIDAVIT CONCERNING SMOKE AND CARBON MONOXIDE DETECTORS
Pursuant to Connecticut Public Act 14-219, Effective July 1, 2014
(Prior to transferring title to real property containing a residential building designed to be occupied by one or two families)*

Stateof CONNECTICUT
County of NEW HAVEN

I/we,
Nicholas A. Berardis, Jr and Christina A. Berardis

being the owner(s) of premises situated in Middlebury , Connecticut, known as
30 Joanne Drive

 

swear that they have no reason to believe the following statements are untrue:
(A) EXEMPTION FOR NEWER HOMES: [ ] a building permit for new occupancy of the premises named

above was issued on or after October 1, 2005. (ff checked, skip rest of form and sign below before a notary or

commissioner of the superior court)

(B) PARTIAL EXEMPTION FOR CERTAIN HOMES: [ ] a building permit for new occupancy of the
premises named above was issued on or after October 1, 1985. (if checked, skip to Section D below)

(C) SMOKE DETECTORS: The premises named above is equipped with smoke detection equipment in working
order that is capable of sensing visible or invisible smoke particles, is installed in accordance with the manufacturer's
instructions and in the immediate vicinity of each bedroom, and is capable of providing an alarm suitable to warn
occupants when such equipment is activated. The smoke detector(s) are:

(J Hard-wired
[G Battery- -operated or plug-in with battery backup

(D) NO COMBUSTION: [ ] the premises named above does not contain any fuel-burning appliance, fireplace or
attached garage. (If checked, skip Section E and sign below before a notary or commissioner of the superior court)

(E) CARBON MONOXIDE DETECTORS: The premises named above is equipped with carbon monoxide
detection equipment in working order that is capable of sensing carbon monoxide present in parts per million, is installed
in accordance with the manufacturer's instructions, and is capable of providing an alarm suitable to warm occupants when
such equipment is activated. The carbon monoxide detector(s) are:

[ ] Hard-wired
[—} Battery-operated or plug-in with battery backup

Nothing in this affidavit shall constitute a warranty beyond the transfer of title. By acceptance of this affidavit, Buyer(s)
acknowledge that affiants possess no special technical knowledge regarding the inner workings of smoke and carbon
monoxide detectors and that Buyer(s) have had an opportunity to perform a home inspection and have had the opportunity
of assessing whether the installed detectors satisfy the requirements detailed above.

I/we understand A credit the Buyer(s) with the sum of $250 at ( Wy WK failing to provide this affidavit.

AchdlD

Nicholas A. Berardi s Christina A. Berardis
Subscribed and sworn to before me this [ ze “de of January 2021.

LEK

 

Notary Public/Commissioner of the Superior Court
My Commission expires:

* This affidavit is not required for (1) Any transfer from one or more co-owners solely to one or more of the other
co-owners; (2) transfers made to the spouse, mother, father, brother, sister, child, grandparent or grandchild of the
transferor where no consideration is paid; (3) transfers pursuant to an order of the court; (4) transfers by the federal

government or any political subdivision thereof; (5) transfers by deed in lieu of foreclosure; (6) any transfer of title -

incident to the refinancing of an existing debt secured by a mortgage; (7) transfers by mortgage deed or other instrument
to secure a debt where the transferor's title to the real property being transferred is subject to a preexisting debt secured
by a mortgage; and (8) transfers made by executors, administrators, trustees or conservators.

Affidavit (Smoke Detector)

(10/20/2017-DSLNET-2$-NE-SMOKE)

 

 

 
Case 3:19-cr-00248-JCH Document 36 Filed 01/22/21 Page 23 of 26

Fidelity National Title

OWNER/SELLER’S AFFIDAVIT

 

STATE OF Connecticut Title No. :
ss!
COUNTY OF New Haven

 

We, — Nicholas A. Berardis, Jr. and Christina A. Berardis , being sworn, depose and say as follows;

1 That | am/we are the owner(s) of certain premises known as __ 30 JOANN&DRIV. and located in the Town (City) of _Middlebury i
County of New Haven and State of Connecticut. io }

2. That IAve have owned the property now being sold or mortgaged by me/us continuously for__ 15 years, last past, and my/our enjoyment

thereof has been peaceable and undisturbed and the title to said property has never been disputed or questioned to my/our knowledge, nor do
lAve know of any facts by reason of which the title to, or possession of, said property might be disputed or questioned, or by reason of which any
claim to any of said property might be asserted adversely against me/us. lAve know of no action or proceeding, including but not limited to
bankruptcy, which is now pending against me/us in any State or Federal Court, nor do IAve know of any attachment, judgment or other
encumbrance which may now constitute a lien upon the above referenced premises. IAve know of no claims or pending claims against me/us
which may be satisfied through a lien or attachment against the property.

3. That within the last ninety (90) days, including the date hereof, no person, firm or corporation has furnished any labor, services, or materials in
connection with the construction or repair of any buildings or improvements on the herein described premises for which a mechanic's or
materialmen's lien could be filed. (IF WORK HAS BEEN PERFORMED OR MATERIALS FURNISHED WITHIN THE LAST NINETY DAYS,
CROSS OUT THIS PARAGRAPH AND ATTACH A COMPLETED MECHANICS’ LIEN WAIVER FORM CTA-002).

 

4. That there are no present tenants, lessees or other parties in possession of said premises, except (if none, state “none”): None
5. That IAve have examined a_ certain survey _ entitled, Made by
, dated ; that no exterior alterations or additions have been made to

 

the buildings shown on said survey; that no additional buildings have been constructed on said premises since the date of said survey; that no
additional buildings have been constructed on said premises since the date of said survey; and that said survey reflects the current status of the
premises, A copy of said survey is hereto attached. IF SURVEY COVERAGE IS NOT DESIRED ON AN OWNER’S POLICY AND/OR
COMMERCIAL LOAN POLICY, THIS PARAGRAPH NEED NOT BE COMPLETED.

6. That during the time of ownership of the premises above described, IAve have conveyed no portion of the premises nor done any act or allowed
any act to be done, which has changed or could change the boundaries of the premises.

7. That IAve have allowed no encroachments on the premises above described by any adjoining land owners nor have encroached upon any
property of adjoining land owners.

8. That lAve have allowed no easements, rights of way, continuous driveway usage, drain, sewer, water gas or oil pipeline or other rights of passage
to others over the premises above described and have no knowledge of such adverse rights.

9. That lAve have no knowledge of any old highways, abandoned roads, lanes, cemetery or family burial grounds, springs, streams, rivers, ponds, or
lakes bordering or running through said premises.

10. That IAve have no knowledge of any taxes or special assessments which are not shown as existing liens by the public records other than as
shown in the above-numbered binder or commitment.

AS, That lAve have no knowledge of any violation of any covenants, restrictions, agreements, conditions or zoning ordinances affecting said premises.

12. That there are no unpaid assessments for common expenses or common charges assessed against the premises or the undersigned (IF
APPLICABLE).

13. That the undersigned has fully complied with the requirements of any “Right of First Refusal” provisions contained in the Bylaws of the Association,

and that any such “Right of First Refusal” has been effectively waived by the Association (IF APPLICABLE).

14. That lAve make this affidavit for the purpose of inducing a purchase or lease of said premises, and/or for the purpose of inducing the granting of a
mortgage on said premises, and for the purpose of inducing Fidelity National Title Insurance Company to issue a policy (policies) of title insurance.

15. That lAve indemnify and hold the Company harmless from and against any claim or liability and promptly proceed to remove, bond or otherwise
dispose of record, any encumbrance, lien or matter objectionable to title which may arise or be filed against the property during the period between
the date of the last update of the commitment for the Property and the date of recording of the insured documents.

Subscribed and Sworn to before me this ae
[- Z-\_ bay of January, 2021, Wb LZ a
fale TN
Ae. fl “

Matthias Peters-Krell : Christina A. Berardis
Commissioner of The Superior Court

Revised 11/07 (Combines Aff23, Aff23a, Aff24)

 

 

 

 
Case 3:19-cr-00248-JCH Document 36 Filed 01/22/21 Page 24 of 26

LETTER OF AUTHORIZATION

TO: Minnella, Tramuta & Edwards, LLC

SALE OF: 30 Joanne Drive, Middlebury, CT 06762
SELLER: Nicholas A. Berardis, Jr. and Christina A. Berardis
BUYER: Vince Bayeh

We hereby authorize Attorney Joseph Tramuta to receive and issue receipt for, if
requested, any and all sums or payments due us in connection with the sale of the above
referenced property. Attorney Tramuta is further authorized to execute any and all
instruments (including, but not limited to the HUD-1 Settlement Statement, Closing
Disclosures, FHA forms, RESPA forms, closing statements, conveyance tax returns,
1099 forms, and the like) that may be necessary at the time of closing to affect the sale
and conveyance of the premises (excluding deeds) and to remit the net proceeds from the

sale after deducting all expenses, if any, aforesaid.
Dated at Middlebury, Connecticut this l ah day of January, 2021.

a.

Nicholas A. Berardis, Jr,

Ald.

Christina A. Berardis

 

 
Case 3:19-cr-00248-JCH Document 36 Filed 01/22/21 Page 25 of 26

NON-FOREIGN CERTIFICATION

(Individual)

Section 1445 of the Internal Revenue Code provides that a transferee (Buyer) of a U.S. real
property interest must withhold tax if the transferor (Seller) is a foreign person. To inform the transferee
(Buyer) that withholding of tax is not required upon my disposition of a U.S. real property interest, I,

Christina Berardis, hereby certify the following:

1. [am not a nonresident alien for purposes of U.S. income taxation;

1 ee Suite eT
2. My taxpayer identification number is (NM na )? # >.

fn. + - me Wha
3. My forwarding address is Ho ( a WS | Out t, bus 4 C/ (es | $6

I understand that this certification may be disclosed to the Internal Revenue Service by the

transferee and that any false statements I have made here could be punished by fine, imprisonment, or

both.

Under penalties of perjury, I declare that I have examined this certification and to the best of my
knowledge and belief, it is true, correct and complete.

Date: | [12 [202 |

WApen

Christina Berardis —

 
Case 3:19-cr-00248-JCH Document 36 Filed 01/22/21 Page 26 of 26

CERTIFICATION FOR NO INFORMATION REPORTING ON THE SALE OR EXCHANGE
OF A PRINCIPAL RESIDENCE (Revised 1-22-07)

This form may be completed by the seller of a principal residence. This information is necessary to determine whether the sale of
exchange should be reported to the seller, and to the Internal Revenue Service on Form 1099-S, Proceeds From Real Estate
Transactions. Ifthe seller properly completes Parts I and III, and makes a “true” response to assurances (1) through (6) in Part II (or a-
“not applicable” response to assurances (6)), no information reporting to the seller or to the Service will be required for that seller.
The term “seller” includes each owner of the residence that is sold or exchanged. Thus, if a residence has more than one owner, a real
estate reporting person much either obtain a certification form for each owner (whether married or not) or file an information return
and furnish a payee statement for any owner that does not make the certification.

1. Name: CHRISTINA A. BERARDIS
2. Address or legal description (including city, state & ZIP Code) of residence being sold or exchanged:

30 JOANNE DRIVE, MIDDLEBURY, CT 06762 2
3. Taxpayer Identification Number (TIN) or g g p2 : | a S D
Part II. Seller Assurances
Check “true” or “false” for assurances (1) through (5), and “true,” false,” or “not applicable” for assurance (6)

T F

a (1) I owned and used the residence as my principal residence for periods aggregating 2 years or more
during the’S year period ending on the date of the sale or exchange of the residence.

(2) I have not sold or exchanged another principal residence during the 2 year period ending on the
date of the sale or exchange of the residence.

— (3) I (or my spouse or former spouse, if I was married at any time during the period beginning after
May 6, 1997, and ending today) have not used any portion of the residence for business or rental
purposes after May 6, 1997.

 

= (4) At least one of the following three statements applies: The sale or exchange is of the entire residence
for $250,000 or less. OR I am married, the sale or exchange is of the entire residence for $500,00.

or less, and the gain on the sale or exchange of the entire residence is $250,000 or less. OR Tam
married, the sale or exchange is of the entire residence for $500,000 or less, and (a) I intend to file

a joint return for the year of the sale of exchange, (b) my spouse also used the residence as his or her
principal residence for periods aggregating 2 years or more during the 5 year period ending on the
the date of the sale or exchange for the residence, and (c) my spouse also has not sold or exchanged
another principal residence during the 2 year period ending on the date of the sale or exchange

of the principal residence.

(5) During the 5 year period ending on the date of the sale or exchange of the residence, I did not acquire
the residence in an exchange to which Section 1031 of the Internal Revenue Code applied.

T F N/A

wen
_ ee (6) if my basis in the residence is determined by reference to the basis in the hands of a person who
acquired the residence in an exchange to which Section 1031 of the Internal Revenue Code applied,
the exchange to which Section 1031 applied occurred more than 5 years prior to the date I sold or
exchanged the residence.

Part III. Seller Certification
Under penalties of perjury, I certify that all the above information is true as of the end of the day of the sale or exchange.

CAPA £ | | [12/2021

Seller— GHRISTHNA. BERARDIS DATE i :

 

 
